            Case 1:18-cr-00260-ABJ Document 10 Filed 10/09/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                           )
UNITED STATES OF AMERICA,                  )
                                           )
               v.                          )
                                           )       Case No. 1:18-CR-00260-ABJ
W. SAMUEL PATTEN,                          )
                                           )
                     Defendant.            )
                                           )


                      DEFENDANT’S UNOPPOSED MOTION
               TO MODIFY CONDITIONS OF RELEASE TEMPORARILY

       Defendant W. Samuel Patten, through undersigned counsel, hereby respectfully submits

this Unopposed Motion to Modify Conditions of Release Temporarily to permit him to travel as

specified in Exhibit 1 (attached to Sealed Motion for Leave to File Document Under Seal). The

government does not oppose Mr. Patten’s request.

       WHEREFORE based on the foregoing reasons and those that appear in Exhibit 1, Mr.

Patten respectfully requests that this Honorable Court grant his motion. A proposed Order is

attached.

Dated: October 9, 2018                             Respectfully submitted,

                                                   W. SAMUEL PATTEN
                                                   By Counsel

                                                   /s/ Stuart A. Sears
                                                   Stuart A. Sears
                                                           Counsel for W. Samuel Patten
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         Case 1:18-cr-00260-ABJ Document 10-1 Filed 10/09/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                         )
UNITED STATES OF AMERICA,                )
                                         )
              v.                         )
                                         )     Case No. 1:18-CR-00260-ABJ
W. SAMUEL PATTEN,                        )
                                         )
                      Defendant.         )
                                         )

                                        ORDER

        Before the Court is Defendant W. Samuel Patten’s Unopposed Motion to Modify

Conditions of Release Temporarily. Upon consideration of defendant’s motion, and for good

cause having been shown, it is hereby

        ORDERED that defendant’s Motion to Modify Conditions of Release Temporarily is

GRANTED in accordance with the sealed Order.




                                               AMY BERMAN JACKSON
                                               United States District Judge


Date:
